                   Case: 25-1591
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                                            APPEALS  1   Date
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                                                              THIRD 05/20/2025
                                                                      CIRCUIT

                                                 No. 25-1555

                       Atlas Data Privacy Corp., et al.   vs. We Inform LLC, et al.

                                             ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
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Indicate the party’s role IN THIS COURT (check only one):

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         ____ Respondent(s)            ____ Appellee(s)                 ✔ Amicus Curiae
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                              Alan J. Butler
(Type or Print) Counsel’s Name ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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REV. 10/20/2020
